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UNlTED STATES OF Al\/|EFl|CA,
P|aintiff,
VS. CFl. NO. 04-20435-5

Wes|ey Davis,

Defendant.

 

ORDER ON CHANGE OF PLEA
AND SET|'|NG

 

This cause came to be heard on May 24, 2005, the United States Attorney for this districtl
l_eonard Lucas, appearing forthe Government and the defendant, Wes|ey Davis, appearing in person and
with counse|, Jake Werner, who represented the defendant

With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and entered
a plea of guilty to Counts 1, 2 & 3 of the indictment

Plea colloquy Was held and the Court accepted the guilty plea.

SENTENC|NG in this case is SET for WEDNESDAY, AUGUST 24, 2005, at 9:00 A.M.,
in Courtroom No. 1, on the 11th floor before Judge J. Danie| Breen.

Defendant is allowed to remain released on present bond.

ENTERED this the?§¢`;iay of May, 2005.

M

J'. DANlEL BREEN
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UNITED sTATE DISTRIC COURT - WTERN D's'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 39 in
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Honorable J. Breen
US DISTRICT COURT

